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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


    DEBORAH SKAGGS, individually and on             CIVIL ACTION
    behalf of all others similarly situated,

                           Plaintiff,               Case No.

                    v.
                                                    COMPLAINT – CLASS AND
    GABRIEL BROTHERS, INC. d/b/a                    COLLECTIVE ACTION
    GABE’S

                           Defendant.               JURY TRIAL DEMANDED


          Plaintiff, Deborah Skaggs (“Skaggs” or “Plaintiff”), files this Class and Collective Action

Complaint against Defendant, Gabriel Brothers, Inc. d/b/a Gabe’s (collectively, “Defendant” or

“Gabe’s”), seeking all relief available under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

(“FLSA”), and the Pennsylvania Minimum Wage Act of 1968, 43 P.S. § 333.101 et seq.

(“PMWA”), on behalf of herself and all current and former “Assistant Managers” (“AMs”),

however variously titled, who work (or worked) at any of Defendant’s stores in the United States

of America during the relevant time period.1 The following allegations are based on personal

knowledge as to Plaintiff’s own conduct and are made on information and belief as to the acts of

others.

                                        NATURE OF THE ACTION

          1.       Plaintiff brings this action on behalf of herself and similarly situated current and

former AMs to recover unpaid overtime pursuant to the FLSA and PMWA. Gabe’s violated the

FLSA and PMWA by failing to pay its AMs overtime compensation for the hours they worked



1
 The term “AM” includes, but is not limited to, individuals holding the “Merchandise Manager”
and “Customer Experience Manager” job titles.
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over forty (40) in one or more workweeks because Gabe’s classifies them as exempt from

overtime.

       2.       Gabe’s employs AMs in more than 100 stores in thirteen (13) states, including

Delaware, Georgie, Maryland, New Jersey, North Carolina, Ohio, Pennsylvania, and Tennessee.

See https://www.gabesstores.com/about-gabes (last accessed November 26, 2019).

       3.       Although Gabe’s considers its AMs to be “managers,” AMs are not responsible for

true management functions. To the contrary, AMs spend the vast majority of their time performing

the same duties as non-exempt employees, including helping customers, ringing up customers on

the cash register, unloading trucks, processing freight, moving merchandise, taking orders, and

cleaning the store.

       4.       AMs report to Store Managers who, in turn, report to district and other supervisory

personnel. Store Managers are the highest level of management in Gabe’s stores.

       5.       AMs are classified by Gabe’s as exempt from overtime, even though their duties

do not fall within any of the exemptions under federal or state overtime laws.

       6.       As alleged herein, Plaintiff and all other similarly situated were required to work

more than forty (40) hours in a workweek while employed by Gabe’s in order to complete their

job duties. However, in accordance with Gabe’s policy, pattern, and/or practice, they were

misclassified as exempt from overtime compensation and were not paid at the mandated rate of

time-and-one-half for all hours worked in excess of forty (40) in a workweek.

       7.       Pursuant to 29 U.S.C. § 216(b), Plaintiff brings this action on behalf of herself and

all persons who are or were formerly employed by Gabe’s in the United States during the relevant

time period as AMs, and individuals holding comparable salaried positions with different titles

(the “AM Collective”).


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       8.       Pursuant to the PMWA and Fed. R. Civ. P. 23, Plaintiff also brings this action on

behalf of herself and as the representative of a class comprising all persons who are or were

formerly employed by Gabe’s in Pennsylvania during the relevant time period as AMs, and

individuals holding comparable salaried positions with different titles (the “AM Class”).

       9.       Gabe’s systematic failure and refusal to pay Plaintiff and all other similarly situated

AMs for all hours worked over forty (40) in a workweek violates the FLSA and PMWA.

                                          THE PARTIES

Plaintiff Deborah Skaggs

       10.      Skaggs resides in Hanover, Pennsylvania (York County). Between approximately

August 2014 and March 2017, Skaggs was employed by Gabe’s as an AM at a store in York,

Pennsylvania (York County).

       11.      Throughout her employment as an AM with Gabe’s, Skaggs was scheduled to work

at least 47.5 hours each week with a 30-60 minute lunch break each day, though she worked more.

On average, during each week of her employment with Gabe’s, Skaggs worked approximately 55

to 60 hours, including during the weeks leading up to, and of, Thanksgiving and Christmas 2017.

       12.      Skaggs spent the vast majority of her time performing the same duties as non-

exempt employees, including helping customers, ringing up customers on the cash register,

unloading trucks, processing freight, moving merchandise, taking orders, and cleaning the store.

       13.      The work Skaggs performed was at the direction, and for the benefit, of Gabe’s.

       14.      Pursuant to Gabe’s policy, pattern or practice of classifying AMs as exempt from

overtime, Skaggs was not paid premium overtime compensation for all hours worked over forty

(40) in a workweek.

       15.      Skaggs has consented to join this action. See Exhibit A.


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Defendant Gabriel Brothers, Inc.

       16.    Gabriel Brothers, Inc. is a West Virginia corporation with its principal place of

business located in Morgantown, West Virginia.

       17.    Gabe’s owns and operates more than 100 stores throughout the United States. See

https://www.gabesstores.com/about-gabes (last accessed November 26, 2019).

       18.    At all relevant times, Gabe’s employed or acted in the interest of an employer

towards Plaintiff and other similarly situated current and former AMs and, among other things,

maintained control, oversight and direction over Plaintiff and other AMs, including with respect

to timekeeping, payroll and other employment practices that applied to them.

       19.    Gabe’s applies the same employment policies, practices, and procedures to all AMs

nationwide.

       20.    Gabe’s is a covered employer within the meaning of the FLSA and PMWA

because, among other things, it employs individuals, including Plaintiff, who are engaged in

interstate commerce or in the production of goods for interstate commerce or engaged in handling,

receiving, selling, or otherwise working on goods or material that have been moved in or produced

for interstate commerce.

       21.    At all relevant time, Gabe’s has had gross revenues exceeding $500,000.00.

                               JURISDICTION AND VENUE

       22.    This Court has subject matter jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. §§ 1331, 1332, 1337, and 29 U.S.C. § 216(b).

       23.    In addition, the Court has supplemental jurisdiction over Plaintiff’s state law class

action claims brought under PMWA pursuant to 28 U.S.C. § 1367.




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        24.     This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2202.

        25.     Gabe’s is subject to personal jurisdiction in Pennsylvania. Gabe’s purposefully

availed itself of jurisdiction by operating stores in Pennsylvania.

        26.     Venue is proper in the Middle District of Pennsylvania pursuant to 28 U.S.C. §

1391(b) since a substantial part of the events or omissions giving rise to the claims in this Class

and Collective Action Complaint occurred within this District and because Plaintiff resides in this

District.

                           GENERAL FACTUAL ALLEGATIONS

        27.     Gabe’s is a privately held corporation with its headquarters located in Morgantown,

West Virginia. According to its website, Gabe’s sells “ brand name fashions and footwear for the

entire family, home décor and kitchen tools, work gear, great gets for pets, and more.” See

https://www.gabesstores.com/about-gabes (last accessed November 26, 2019).

        28.     Gabe’s owns and operates 107 stores in thirteen (13) states: Delaware, Georgia,

Indiana, Kentucky, Maryland, New Jersey, North Carolina, Ohio, Pennsylvania, South Carolina,

Tennessee, Virginia and West Virginia. Id. Gabe’s employs AMs at each its stores.

        29.     Gabe’s maintains strict control, oversight, and discretion over the operation of its

stores, including its employment practices with respect to Plaintiff and the members of the putative

AM Class and AM Collective.

        30.     Plaintiff’s work and the work of the members of the putative AM Class and AM

Collective was performed in the normal course of Gabe’s business and was integrated into it.




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        31.     Consistent with Gabe’s policy, pattern and/or practice, Plaintiff and the members

of the putative AM Class and AM Collective worked in excess of forty (40) hours per workweek

without being paid overtime compensation. AMs are scheduled to work at least 47.5 hours each

workweek (with a 30-minute lunch break each day), however, in reality AMs work more hours

each workweek.

        32.     All of the work that Plaintiff and the members of the putative AM Class and AM

Collective performed has been assigned by Gabe’s, who is aware of the work they performed. This

work required little skill and no capital investment. Nor did it include managerial responsibilities,

or the exercise of meaningful independent judgment and discretion.

        33.     Pursuant to a centralized, company-wide policy, pattern and/or practice, Gabe’s

classifies all AMs as exempt from the overtime provisions of the FLSA and PMWA.

        34.     The primary job duties of Plaintiff and the members of the putative AM Class and

AM Collective did not include hiring, firing, or disciplining other employees.

        35.     The primary job duties of Plaintiff and the members of the putative AM Class and

AM Collective did not materially differ from the job duties of non-exempt hourly paid employees.

        36.     The primary job duties of Plaintiff and the members of the putative AM Class and

AM Collective did not include the exercise of meaningful independent discretion with respect to

their duties.

        37.     The primary job duties of Plaintiff and the members of the putative AM Class and

AM Collective were manual and/or clerical in nature. The performance of manual and/or clerical

labor occupied the majority of the working hours of Plaintiff and the members of the putative AM

Class and AM Collective.




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       38.    Plaintiff and the members of the putative AM Class and AM Collective are

similarly situated in that they have substantially similar job duties and are subject to Gabe’s

common compensation policies, patterns, and/or practices.

       39.    Upon information and belief, Gabe’s did not perform a person-by-person analysis

of Plaintiff and the members of the putative AM Class’s and AM Collective’s job duties when

making the decision to classify AMs as exempt from overtime under the FLSA and PMWA.

       40.    Due to the foregoing, Gabe’s failure to pay overtime wages for work performed by

Plaintiff and the members of the putative AM Class and AM Collective in excess of forty (40)

hours per week was willful.

       41.    The work performed by Plaintiff and the members of the putative AM Class and

AM Collective constitutes compensable work time under the FLSA and PMWA and was not

preliminary, postliminary or de minimis.

       42.    Gabe’s unlawful conduct has been widespread, repeated, and consistent.

                     FLSA COLLECTIVE ACTION ALLEGATIONS

       43.    Plaintiff brings the First Cause of Action, 29 U.S.C. § 216(b), on behalf of herself

and the putative AM Collective.

       44.    At all relevant times, Plaintiff and the members of the putative AM Collective were

engaged in commerce and/or the production of goods for commerce within the meaning of 29

U.S.C. §§ 203(e) and 207(a).

       45.    Gabe’s is an employer of Plaintiff and the members of the putative AM Collective

and is engaged in commerce and/or the production of goods for commerce within the meaning of

29 U.S.C. §§ 203(e) and 207(a).

       46.    At all relevant times, Plaintiff and the members of the putative AM Collective were


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employees within the meaning of 29 U.S.C. §§ 203(e) and 207(a).

        47.     Gabe’s has failed to pay Plaintiff and the members of the putative AM Collective

overtime compensation to which they are entitled under the FLSA.

        48.     Gabe’s has failed to keep accurate records of time worked by Plaintiff and the

members of the putative AM Collective.

        49.     Defendant is liable under the FLSA for, among other things, failing to properly

compensate Plaintiff and the members of the putative AM Collective.

        50.     Consistent with Defendant’s policy and pattern or practice, Plaintiff and the

members of the putative AM Collective were not paid overtime compensation when they worked

beyond forty (40) hours in a workweek.

        51.     All of the work that Plaintiff and the members of the putative AM Collective

performed has been assigned by Defendant, and/or Defendant has been aware of such work.

        52.     As part of its regular business practice, Defendant has intentionally, willfully, and

repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with respect to

Plaintiff and the members of the putative AM Collective. This policy and pattern or practice

includes, but is not limited to:

                (a)     willfully failing to pay Plaintiff and the members of the putative AM
                        Collective premium overtime wages for hours that they worked in excess of
                        forty (40) hours per workweek;

                (b)     willfully misclassifying Plaintiff and the members of the putative AM
                        Collective as exempt from the overtime protections of the FLSA; and

                (c)     willfully failing to record all of the time that its employees, including
                        Plaintiff and the members of the putative AM Collective, worked for the
                        benefit of Defendants.




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       53.    Defendant is aware or should have been aware that federal law required it to pay

Plaintiff and the members of the putative AM Collective overtime compensation for all hours

worked in excess of forty (40) in a workweek.

       54.    Plaintiff and the members of the putative AM Collective perform or performed the

same primary duties.

       55.    Defendant’s unlawful conduct has been widespread, repeated, and consistent.

                              CLASS ACTION ALLEGATIONS

       56.    Plaintiff bring the Second Cause of Action, 43 Pa. Stat. § 333.113, under Rule 23

of the Federal Rules of Civil Procedure on behalf of herself and the members of the AM Class.

       57.    The persons in the AM Class are so numerous that joinder of all members is

impracticable. Although Plaintiff does not know the precise number of such persons, the facts on

which the calculation of that number can be based are presently within the sole control of

Defendant.

       58.    Upon information and belief, the size of the AM Class is at least fifty (50) workers.

       59.    The Second Cause of Action is properly maintainable as a class action under

Federal Rule of Civil Procedure 23(b)(3). There are questions of law and fact common to the AM

Class that predominate over any questions solely affecting individual members.

       60.    Such questions include:

              (a)      whether Defendant failed to keep true and accurate time records for all
                       hours worked by Plaintiff and the AM Class;

              (b)      what proof of hours worked is sufficient where an employer fails in its duty
                       to maintain true and accurate time records;

              (c)      whether Defendant failed and/or refused to pay Plaintiff and the AM Class
                       overtime pay for hours worked in excess of forty (40) hours per workweek
                       within the meaning of the PMWA;


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                (d)     the nature and extent of Class-wide injury and the appropriate measure of
                        damages for the AM Class;

                (e)     whether Defendant has a policy of misclassifying workers as exempt from
                        coverage of the overtime provisions of the PMWA; and

                (f)     whether Defendant’s policy of misclassifying workers was done willfully
                        or with reckless disregard of the PMWA.

        61.     The claims of Plaintiff are typical of the claims of the members of the putative AM

Class she seeks to represent. Plaintiff and the members of the putative AM Class work or have

worked for Defendant and have been subjected to its policy and pattern or practice of failing to

pay overtime wages for hours worked in excess of forty (40) hours per week.

        62.     Plaintiff will fairly and adequately represent and protect the interests of the

members of the putative AM Class. Plaintiff understands that, as the class representatives, she

assumes a fiduciary responsibility to the members of the putative AM Class to represent their

interests fairly and adequately. Plaintiff recognizes that as the class representative, she must

represent and consider the interests of the members of the putative AM Class just as she would

represent and consider her own interests. Plaintiff understands that in decisions regarding the

conduct of the litigation and any potential settlement she must not favor her own interests over

those members of the putative AM Class. Plaintiff recognizes that any resolution of a class action

lawsuit, including any settlement or dismissal thereof, must be in the best interests of the members

of the putative AM Class.         Plaintiff also understands that in order to provide adequate

representation, she must remain informed of developments in the litigation, cooperate with class

counsel by providing them with information and any relevant documentary material in their

possession, and testify, if required, in a deposition and in trial.

        63.     A class action is superior to other available methods for the fair and efficient

adjudication of this litigation – particularly in the context of wage litigation like the present action,

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where individual plaintiffs may lack the financial resources to vigorously prosecute a lawsuit in

federal court against a corporate defendant. The members of the putative AM Class have been

damaged and are entitled to recovery as a result of Defendant’s common and uniform policies,

practices, and procedures. Although the relative damages suffered by individual members of the

putative AM Class are not de minimis, such damages are small compared to the expense and burden

of individual prosecution of this litigation. In addition, class treatment is superior because it will

obviate the need for unduly duplicative litigation that might result in inconsistent judgments about

Defendant’s practices.

       64.     Class certification of Plaintiff’s claims is appropriate because Gabe’s has acted or

refused to act on grounds generally applicable to the AM Class, making appropriate both

declaratory and injunctive relief with respect to the AM Class. The AM Class is entitled to

injunctive relief to end Gabe’s common and uniform policy and practice.

       65.     Plaintiff has retained counsel competent and experienced in complex class action

wage and hour litigation.

       66.     Plaintiff knows of no difficulty that would be encountered in the management of

this litigation that would preclude its maintenance as a class action.

                                FIRST CAUSE OF ACTION
                     Fair Labor Standards Act: Unpaid Overtime Wages
                    (Brought on Behalf of Plaintiff and the AM Collective)

       67.     Plaintiff realleges and incorporates by reference the above allegations.

       68.     Gabe’s has engaged in a widespread policy, pattern or practice of violating the

FLSA in regard to Plaintiff and the members of the putative AM Collective, as detailed in this

Collective Action Complaint.

       69.     Upon information and belief, Gabe’s established labor budgets to cover labor costs


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for the stores in which Plaintiff and the members of the putative AM Collective worked. However,

Gabe’s did not provide sufficient money in the labor budgets to cover all hours needed to complete

the necessary non-exempt tasks in each store.

       70.     Gabe’s knew or recklessly disregarded the fact that their underfunding of store

labor budgets resulted in Plaintiff and the members of the putative AM Collective (who were not

paid overtime) working more than forty (40) hours in a workweek without receiving any overtime

compensation. This allowed Gabe’s to avoid paying additional wages (including overtime) to the

non-exempt, store-level employees.

       71.     Because Gabe’s underfunded store labor budgets, which in turn limited the amount

of money available to pay non-exempt employees to perform manual and customer service tasks,

AMs were required to – and did – perform these non-exempt tasks.

       72.     In fact, the performance of non-management work was the primary duty of Plaintiff

and the members of the AM Collective. These primary duties included serving customers, ringing

customers up on the cash register, preparing food, working the drive-thru, stocking, counting

inventory, and cleaning the store.

       73.     Gabe’s knew, by virtue of the fact that its upper level management employees (as

its authorized agents) actually saw Plaintiff and the members of the AM Collective primarily

perform manual labor and non-exempt duties, that Plaintiff and other similarly situated AMs were

not performing activities that complied with any FLSA exemption. Inasmuch as Gabe’s is a

substantial corporate entity aware of its obligations under the FLSA, it acted willfully or recklessly

in failing to classify Plaintiff and other similarly situated AMs as non-exempt employees.

       74.     Upon information and belief, and as part of its regular business practices, Gabe’s

has intentionally, willfully and repeatedly engaged in a pattern, practice and/or policy of violating


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the FLSA with respect to Plaintiff and the members of the putative AM Collective. This policy

and pattern or practice includes but it is not limited to:

                (a)     willfully misclassifying Plaintiff and the members of the putative AM
                        Collective as exempt from the requirements of the FLSA;

                (b)     willfully failing to pay Plaintiff and the members of the AM Collective
                        overtime wages for all hours they worked in excess of forty (40) hours per
                        week; and

                (c)     willfully failing to provide enough money in its store-level labor budgets.

        75.     Gabe’s unlawful conduct, as described above, was willful and/or in reckless

disregard of the applicable wage and hour laws pursuant to Gabe’s centralized, company-wide

policy, pattern, and/or practice of attempting to minimize labor costs by violating the FLSA.

        76.     As further evidence of its willful or reckless failure to classify Plaintiff and the

members of the AM Collective as non-exempt employees, Gabe’s has uniformly failed to: (a)

accurately track or record actual hours worked by Plaintiff and the members of the putative AM

Collective; and (b) provide Plaintiff and the members of the putative AM Collective with a method

to accurately record the hours they actually worked.

        77.     Gabe’s did not make a good faith effort to comply with the FLSA with respect to

its timekeeping and compensation of Plaintiff and the members of the putative AM Collective.

        78.     Gabe’s was or should have been aware that the FLSA required it to pay employees

performing non-exempt duties an overtime premium for hours worked in excess of forty (40) per

week.

        79.     Gabe’s is liable under the FLSA for, inter alia, failing to properly compensate

Plaintiff and the members of the putative AM Collective for all hours worked in excess of forty

(40) in a workweek.



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          80.   Upon information and belief, there are potentially hundreds of similarly situated

current and former AMs who have been underpaid in violation of the FLSA and who would benefit

from the issuance of a court-supervised notice of this lawsuit and the opportunity to join it. Thus,

notice should be sent to the members of the putative AM Collective, pursuant to 29 U.S.C. §

216(b).

          81.   The members of the putative AM Collective are known to Gabe’s, are readily

identifiable, and can be located through Gabe’s records.

          82.   Because Gabe’s violations of the FLSA have been willful, a three-year statute of

limitations applies, pursuant to 29 U.S.C. § 255, as it may be further extended or tolled by

agreement, equity or operation of law.

          83.   As a result of Gabe’s willful violations of the FLSA, Plaintiff and the members of

the putative AM Collective have suffered damages by being denied overtime compensation in

accordance with the FLSA, in amounts to be determined at trial, and are entitled to recovery of

such amounts, as well as liquidated damages and attorneys’ fees, pursuant to 29 U.S.C. § 216(b).

                              SECOND CAUSE OF ACTION
                    Pennsylvania Minimum Wage Act – Unpaid Overtime
                      (Brought on behalf of Plaintiff and the AM Class)

          84.   Plaintiff realleges and incorporates by reference the above allegations.

          85.   The overtime wage provisions set forth in 43 Pa. Stat. § 333.101 et seq. of the

PMWA apply to Gabe’s.

          86.   At all relevant times, Defendant has been and continues to be an “employer” within

the meaning of the PMWA.




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       87.     At all relevant times, Defendant has employed, and/or continues to employ,

“employee[s],” including Plaintiff and the members of the putative AM Class, within the meaning

of the PMWA.

       88.     The PMWA requires an employer, such as Defendant, to compensate all non-

exempt employees for all hours worked. Plaintiff and the members of the putative AM Class are

non-exempt employees entitled to be paid overtime compensation for all overtime hours worked.

       89.     The members of the putative AM Class are similarly situated because they all

performed the same primary duties, responsibilities and activities, and all are subject to Gabe’s

common policy and practice, implemented throughout the state of Pennsylvania, of misclassifying

them as exempt from the overtime requirements of the PMWA.

       90.     The primary duties of Plaintiff and the members of the putative AM Class were

non-exempt in nature and included serving customers, breaking down shipments, preparing food,

setting up displays, stocking shelves, physically moving merchandise, counting inventory, and

cleaning the store.

       91.     Gabe’s unlawful conduct was willful and/or in reckless disregard of the PMWA,

and was done pursuant to Gabe’s centralized, company-wide policy, pattern and/or practice of

attempting to minimize labor costs by misclassifying Plaintiff and the members of the putative

AM Class as exempt but requiring them to perform non-exempt duties as their primary duties.

       92.     At all relevant times, Defendant had a policy and practice of failing and refusing to

pay overtime compensation to Plaintiff and the members of the putative AM Class for all hours

worked in excess of forty (40) in a workweek.

       93.     As a result of Defendant’s failure to pay overtime compensation earned and due to

Plaintiff and the members of the putative AM Class at a rate not less than one and one-half times


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their regular rate of pay for work performed in excess of forty (40) hours in a workweek, Defendant

has violated the PMWA.

       94.     As a result of Gabe’s violation of the PMWA, Plaintiff and the members of the

putative AM Class suffered damages by being denied overtime compensation in accordance with

the PMWA, in amounts to be determined at trial, and are entitled to recovery of such amounts, as

well as attorneys’ fees, pursuant to 43 Pa. Stat. § 333.113.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the members of the putative AM

Collective and AM Class, pray for the following relief:

       1.      Designation of this action as an FLSA collective action on behalf of Plaintiff and

               the members of the putative AM Collective, and prompt issuance of notice pursuant

               to 29 U.S.C. § 216(b) to all similarly situated members of the AM Collective,

               apprising them of the pendency of this action, permitting them to assert timely

               FLSA claims in this action by filing individual Consents to Join pursuant to 29

               U.S.C. § 216(b), and tolling of the statute of limitations;

       2.      Certification of the PMWA state law claim as a class action on behalf of the AM

               Class pursuant to Rule 23 of the Federal Rules of Civil Procedure;

       3.      Designation of Plaintiff as Class Representative for the AM Class and counsel of

               record as Class Counsel;

       4.      An award of unpaid overtime compensation for all hours worked in excess of forty

               (40) in a workweek at a rate of time and one-half of the regular rate of pay due

               under the FLSA and PMWA using the following common methodology for

               calculating damages: ((Annual Salary ÷ 52) ÷ 40) x Total Number of Overtime


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               Hours Worked x 1.5);

       5.      An award of liquidated damages under the FLSA and PMWA as a result of Gabe’s

               willful failure to pay for all hours worked in excess of forty (40) in a workweek at

               a rate of time and one-half of the regular rate of pay;

       6.      An award of damages representing Gabe’s share of FICA, FUTA, state

               unemployment insurance, and any other required employment taxes;

       7.      An award of service payments to Plaintiff;

       8.      An award of pre-judgment and post-judgment interest;

       9.      An award of costs and expenses of this action, together with reasonable attorneys’

               and expert fees to Plaintiff’s counsel pursuant to the FLSA and PMWA;

       10.     An injunction requiring Gabe’s to cease its practice of violating the FLSA and

               PMWA in the future;

       11.     Issuance of a declaratory judgment that the practices complained of in this Class

               and Collective Action Complaint are unlawful and/or willful under the FLSA and

               PMWA; and

       12.     Such other and further relief as this Court deems just and proper.

                              DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury on all questions of fact raised by this Class and Collective Action Complaint.


Dated: November 26, 2019                      s/ Jason Conway________________
                                              Jason Conway (PA 317113)
                                              CONWAY LEGAL, LLC
                                              1700 Market Street, Suite 1005
                                              Philadelphia, PA 19103
                                              Telephone: (215) 278-4782
                                              Fax: (215) 278-4807

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                            jconway@conwaylegalpa.com

                            Attorney for Plaintiff and the Putative AM Class
                            and AM Collective




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